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IN THE UNITED STATES DISTRICT COURT “-"~H--*D~C
FOR THE WESTERN DISTRICT OF TENNESSEE 1
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W. wbi H\T§":'~-‘ "'»'”i`\:!_ TJ/'J§§A_PC:';'S
UNITED STATES OF AMERICA, )
)
Plaintiff, )
)
vs. ) CR. NO. 04-20306-Ma
)
LARRY WILBORN, )
)
Defendant. )

 

ORDER ON CONTIN'UANCE .AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for aa report date on April 21, 2005.
Defense Counsel requested a Continuance of the present trial date
in order to allow for additional preparation in the case and to
allow for the disposition of the pending Motion to Suppress.

The Court granted the request and continued the trial date to
the rotation docket beginning June 6, 2005 at 9:30 a.m., with a
report date of Thursday, June 2, 2005 at 2:00 p.m.

The period from April 21, 2005 through June 17, 2005 is
excludable under 18 U.S.C. §§ 3161(h)(8)(B)(iv) and 3161(h)(l)(F)
because the interests of justice in allowing additional time to
prepare and the need to dispose of the pending motion outweigh the
need for a speedy trial.

. 171/k
IT IS SO ORDERED this day of May, 2005.

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.lor '=2(b) FRCrP on _.M:O_:)»_~ UNITED STATES DISTRICT JUDGE
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Notice of Distribution

This notice confirms a copy of the document docketed as number 35 in
case 2:04-CR-20306 Was distributed by faX, mail, or direct printing on
May ]8, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

